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                IN THE UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF ARKANSAS
                          WESTERN DIVISION


UNITED STATES OF AMERICA


VS.                           4:14CR00114-20 DPM


MEGAN BRITTNEY TURNER

                                      ORDER

      On December 26, 2014, Defendant tested positive for alcohol and was

discharged from the chem-free living program at Crowley’s Ridge in Jonesboro.

Doc. 281. On January 6, 2015, the Government moved to revoke Defendant’s

conditions of release. Doc. 281.

      The Government has now filed a Motion withdrawing its revocation request.

Doc. 283. Defendant’s PTSO indicates that, on January 6, 2015, Defendant

voluntarily enrolled at the chem-free living program at Wilbur Mills in Searcy,

where she is also receiving mental-health counseling. Defendant’s PTSO informed

the Court that Defendant has performed well since enrolling at Wilbur Mills, and

recommends that she continue with her drug treatment and counseling.

      Under these circumstances, the Court will permit Defendant to continue with

chem-free living and mental health counseling at Wilbur Mills, until the

disposition of all charges contained in the Indictment.
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      IT IS THEREFORE ORDERED that the Government’s Motion to

Withdraw (doc. 283) its Motion to Revoke (doc. 281) is GRANTED.

     Dated this 16th day of January, 2015.



                                     ___________________________________
                                     UNITED STATES MAGISTRATE JUDGE




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